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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


RAMON JAQUEZ, on behalf of himself
and all others similarly situated,
                                 Plaintiffs,
                                                                      ORDER
                   – against –                                  20 Civ. 07586 (ER)

NUTRACEUTICAL CORPORATION,

                                 Defendant.


RAMOS, D.J.:

         The Court having been advised that the parties have reached a settlement in

principle, it is ORDERED that the above-entitled action be and hereby is discontinued,

without costs to either party, subject to reopening should the settlement not be

consummated within sixty (60) days of the date hereof.

         Any application to reopen must be filed within sixty (60) days of this Order;

any application to reopen filed thereafter may be denied solely on that basis. Further, the

parties are advised that if they wish the Court to retain jurisdiction in this matter for

purposes of enforcing any settlement agreement, they must submit the settlement

agreement to the Court within the next sixty (60) days with a request that the agreement

be “so ordered” by the Court.


It is SO ORDERED.


Dated:     November 23, 2020
           New York, New York

                                                           EDGARDO RAMOS, U.S.D.J.
